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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION                   :
BUREAU,                                         :           C.A. No. 17-1323 (MN)
                                                :
                          Plaintiff,            :
                                                :
v.                                              :
                                                :
THE NATIONAL COLLEGIATE MASTER                  :
STUDENT LOAN TRUST et al.,                      :
                                                :               Public Version Filed: July 17, 2020
                          Defendants.           :


       DECLARATION OF ERIK HAAS IN SUPPORT OF THE INTERVENORS’
         MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6) AND 12(b)(1)



I, ERIK HAAS, declare as follows:

       1.     I am a member of the law firm of Patterson Belknap Webb & Tyler LLP, counsel

for Ambac Assurance Corp. (“Ambac”) in the above-captioned action. I submit this Declaration

in support of the Intervenors’ Motion to Dismiss.

       2.     Attached as Exhibit 1 is a true and correct copy of the Special Servicing

Agreement dated March 1, 2009 between First Marblehead Education Resources, Inc., U.S. Bank

National Association, and the National Collegiate Student Loan Trusts.

       3.     Attached as Exhibit 2 is a true and correct copy of the Default Prevention and

Collection Services Agreement dated March 1, 2009 between First Marblehead Education

Resources, Inc. and NCO Financial Systems, as amended.

       4.     Attached as Exhibit 3 is a true and correct copy of the letter and enclosed

attachments from Edward Keefe of the Consumer Financial Protection Bureau regarding the

Civil Investigative Demand Served on National Collegiate Student Loan Trust 2007-1, dated
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September 4, 2017. Substantively identical Civil Investigative Demands were served on the

other Trusts on the same date.

        5.      Attached as Exhibit 4 is a true and correct copy of an email and attachment from

Mr. Keefe to Dorri Costello, of Wilmington Trust Company, dated May 9, 2016, and produced

by Wilmington Trust Corporation in this action with Bates numbers WTC_CFPB_00000035.

        6.      Attached as Exhibit 5 is a true and correct copy of the document entitled

“Response to Notice and Opportunity to Respond and Advise National Collegiate Student Loan

Trusts” from James Kosch of McCarter & English, counsel purporting to act on behalf of the

Trusts, dated May 31, 2016, and produced by the CFPB in this action with Bates numbers CFPB-

INTV-0003355–3373.

        7.      Attached as Exhibit 6 is a true and correct copy of the Order entered on

September 18, 2017 in the administrative proceeding captioned In the Matter of Transworld

Systems, Inc., File No. 2017-CFPB-0018.

        8.      Attached as Exhibit 7 is a true and correct copy of the Trust Agreement for The

National Collegiate Student Loan Trust 2006-4.

        9.      Attached as Exhibit 8 is a true and correct copy of Senate Report 111-176 from

the Committee on Banking, Housing and Urban Affairs on the Restoring American Financial

Stability Act of 2010, dated April 30, 2010.

        10.     Attached as Exhibit 9 is a true and correct copy of the document entitled

“Financial Regulatory Reform: A New Foundation” issued by the Department of the Treasury on

October 8, 2009.

        11.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



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Dated:   July 10, 2020
         New York, New York




                                                 Erik Haas




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